Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                  Pro Se Notices of Participation Page 1 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                  Pro Se Notices of Participation Page 2 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                  Pro Se Notices of Participation Page 3 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                  Pro Se Notices of Participation Page 4 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                  Pro Se Notices of Participation Page 5 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                  Pro Se Notices of Participation Page 6 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                  Pro Se Notices of Participation Page 7 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                  Pro Se Notices of Participation Page 8 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                  Pro Se Notices of Participation Page 9 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 10 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 11 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 12 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 13 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 14 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 15 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 16 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 17 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 18 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 19 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 20 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 21 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 22 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 23 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 24 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 25 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 26 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 27 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 28 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 29 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 30 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 31 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 32 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 33 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 34 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 35 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 36 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 37 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 38 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 39 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 40 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 41 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 42 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 43 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 44 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 45 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 46 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 47 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 48 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 49 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 50 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 51 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 52 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 53 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 54 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 55 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 56 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 57 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 58 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 59 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 60 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 61 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 62 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 63 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 64 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 65 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 66 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 67 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 68 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 69 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 70 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 71 of 72
Case:17-03283-LTS Doc#:6049-1 Filed:03/26/19 Entered:03/27/19 09:18:02   Desc:
                 Pro Se Notices of Participation Page 72 of 72
